Arthur I. Saltzman, Petitioner v. Commissioner of Internal Revenue, RespondentSaltzman v. CommissionerDocket No. 5899-68United States Tax Court54 T.C. 722; 1970 U.S. Tax Ct. LEXIS 170; April 2, 1970, Filed *170 Decision will be entered for the respondent.  The petitioner, the leader of the Harvard-Radcliffe Hillel Folk Dance Group, made two trips by himself to attend folk dance festivals. He later imparted the knowledge acquired on these trips to the members of the Hillel group.  Held, the expenses of the trips are not deductible as charitable contributions under sec. 170, I.R.C. 1954.  Arthur I. Saltzman, pro se.Joel Gerber, for the respondent.  Simpson, Judge.  SIMPSON*722  The respondent determined a deficiency of $ 168.90 in the petitioner's 1966 income tax.  The issue for decision is whether the petitioner can deduct under section 170 of the Internal Revenue Code of 19541 the expenses incurred on two*171  trips to attend folk dance festivals. During such trips he acquired knowledge which he used in rendering services to an exempt charitable organization, but he also derived substantial personal pleasure from the trips.FINDINGS OF FACTSome of the facts have been stipulated, and those facts are so found.The petitioner, Arthur I. Saltzman, maintained his legal residence in Cambridge, Mass., at the time the petition was filed in this case.  He filed his 1966 Federal income tax return with the district director of internal revenue, Boston, Mass.During 1966, the petitioner served without pay as the leader of the Harvard-Radcliffe Hillel Folk Dance Group, which is associated with the Hillel Foundation of Cambridge, Inc., an organization qualifying *723  under section 170(c)(2).  He taught folk dancing and related subject matter to a group which met once a week, 3 to 4 hours at a time.During 1966, the petitioner took four trips on which he led members*172  of the Hillel group to folk dance festivals and conventions, at which these group members performed exhibitions as part of the convention. These trips were to Amherst, Mass.; North Kingston, R.I.; Stowe, Vt.; and New York, N.Y.  All the trips, except the one to North Kingston, involved overnight stays.  In addition, the petitioner took two trips by himself: a weekend trip to a folk dance festival in Pittsburgh, Pa., and an 84-day trip to Europe during which he attended folk dance festivals in Norway, Sweden, Denmark, Switzerland, Yugoslavia, and Greece.The petitioner himself suggested that he take the trips to Pittsburgh and to Europe.  He was neither asked nor required to make these two trips by either the Hillel Foundation or its director, Rabbi Ben-Zion Gold.  However, Rabbi Gold did believe that the petitioner's attendance at the folk festivals enhanced his ability to teach the Hillel group.None of the folk dance festivals attended by the petitioner in 1966 was sponsored by Harvard-Radcliffe Hillel or any related organization.  The petitioner was not reimbursed for expenses he incurred on the trips. On those trips which he took alone, he was not the authorized agent of Harvard-Radcliffe*173  Hillel or of the folk dance group; however, he did identify himself at the festivals as being the leader of the Harvard-Radcliffe Hillel Folk Dance Group, and he discussed his group and its activities with other participants at the festivals.The petitioner spent 28 days of his European trip in actual attendance at folk dance festivals. The rest of the time was spent traveling between festivals, doing general sightseeing, and talking with natives in rural areas about the folk dances and related cultural customs.  While in Europe, the petitioner made some side trips unrelated to folk dancing. These side trips "didn't constitute very much more than a quarter of the trip."The petitioner has been interested in folk dancing since 1962 and began as the leader of the Harvard-Radcliffe Hillel Folk Dance Group in July 1964.  The Harvard-Radcliffe Hillel Folk Dance Group benefited from the trips that the petitioner took by himself, because he used his newly found knowledge of the folk dances and the customs surrounding them in the course of his teaching.OPINIONThe issue for decision is whether the petitioner can deduct under section 170 the expenses of his trips to Pittsburgh and to Europe. *174 *724   Because Hillel is a corporation which qualifies under section 170(c) (2), a contribution or gift "to or for the use of" Hillel is deductible. With respect to a contribution of services, section 1.170-2(a)(2), Income Tax Regs., provides:(2) No deduction is allowable for contribution of services.  However, unreimbursed expenditures made incident to the rendition of services to an organization contributions to which are deductible may constitute a deductible contribution.  For example, the cost of a uniform without general utility which is required to be worn in performing donated services is deductible. Similarly, out-of-pocket transportation expenses necessarily incurred in rendering donated services are deductible. * * *The petitioner has the burden of proving that the expenses of his trips qualify as charitable contributions deductible under section 170.  Milton Hart, 41 T.C. 131"&gt;41 T.C. 131, 142 (1963), affirmed per curiam 338 F. 2d 410 (C.A. 2, 1964).The petitioner relies on Rev. Rul. 55-4, 1 C.B. 291"&gt;1955-1 C.B. 291, and Rev. Rul. 56-509, 2 C.B. 129"&gt;1956-2 C.B. 129,*175  and contends that the expenses of his trips to Pittsburgh and Europe qualify for deduction under these rulings. Rev. Rul. 55-4 holds that a taxpayer who renders gratuitous service to a charitable organization may deduct certain unreimbursed traveling expenses incurred while away from home "in connection with the affairs of the [charitable] association and at its direction." Rev. Rul. 56-509 allows civil defense volunteers to deduct certain unreimbursed expenses incurred:in the performance of their volunteer duties, such as traveling expenses to watch atomic bomb tests, the expenses of attending state meetings of civil defense volunteers, or other expenses directly connected with and solely attributable to the rendition of such volunteer services, * * * [Emphasis added.]The petitioner argues that his trips to Pittsburgh and Europe are analogous to the traveling by a civil defense volunteer to watch atomic bomb tests.In our opinion, the petitioner has failed to show that his expenses come within the tests set forth in these revenue rulings.  Unlike the facts in Rev. Rul. 55-4,*176  the petitioner's independent trips to Pittsburgh and to Europe were not in connection with any affairs of Hillel, nor were the trips taken at the direction or even at the request of Hillel.  It was the petitioner who suggested the trips, and the decisions as to whether to make the trips and as to when and where to go were solely his.Nor are the petitioner's expenses "directly connected with and solely attributable to" his donated services to Hillel.  We accept the fact that the Hillel program benefited from the petitioner's trips to Pittsburgh *725  and to Europe; yet, we cannot find that the expenses of these trips were solely attributable to his work with Hillel.  It is clear that the petitioner had a strong interest in folk dancing. He began dancing in 1962 and began teaching the subject at Hillel in 1964.  Since he received no compensation for his services to Hillel, it seems clear that he acted out of an interest in the subject.  Folk dancing was for him a hobby or avocation.  At one point in his testimony, he stated that he attended the festivals because of his interest in folk dancing, but at another point, he testified that he would not have made the trips but for his*177  teaching at Hillel.  In the light of this record, we cannot find that his sole reason for making the trips was to benefit Hillel; it seems clear that the petitioner also derived substantial personal pleasure from participating in the folk dance festivals while on the trips. In addition, nothing in the record indicates that he could not have continued to teach effectively had he not made the trips; nothing indicates that Hillel was even considering expending its own money to send an observer to these festivals had the petitioner not volunteered to go.Moreover, the expenses of the petitioner's trips to Pittsburgh and Europe fail to meet the statutory tests of deductibility.  When expenses have been allowed as a charitable contribution, it was clear that they were incurred for charitable purposes, and not for personal benefit. Estate of Philip A. Carroll, 38 T.C. 868"&gt;38 T.C. 868, 874 (1962); Henry Cartan, 30 T.C. 308"&gt;30 T.C. 308, 321-322 (1958); Roy Upham, 16 B.T.A. 950"&gt;16 B.T.A. 950 (1929); Wolfe v. McCaughn, 5 F. Supp. 407"&gt;5 F. Supp. 407 (E.D. Pa. 1933). On the other hand, the charitable deduction has not*178  been allowed when the activity for which the expenses are incurred brings a substantial personal benefit to the taxpayer, even though the charity also benefits.  Green v. Bookwalter, 207 F. Supp. 866"&gt;207 F. Supp. 866, 880 (W.D. Mo. 1962), affd.  319 F. 2d 631 (C.A. 8, 1963); see also Orr v. United States, 343 F. 2d 553, 557 (C.A. 5, 1965), affirming 226 F. Supp. 809"&gt;226 F. Supp. 809 (M.D. Ala. 1963). In reaching our conclusion in this case, we have no doubt about the good faith of the petitioner, but it appears that in circumstances like these when there is a substantial personal benefit resulting from the trip, and the trip is not a necessary part of the charity's activities, a charitable deduction should not be allowed for its expenses.The petitioner does not argue against the respondent's disallowance of the expenditure for food on the Rhode Island trip when the petitioner was not away from home overnight.  The respondent correctly disallowed that deduction.  Clinton H. Mitchell, 42 T.C. 953"&gt;42 T.C. 953, 974 (1964).Decision will be entered*179  for the respondent.  Footnotes1. All statutory references are to the Internal Revenue Code of 1954.↩